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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,
                                        Case No. 1:20-cv-03010-APM
v.
                                        HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,
                                        Case No. 1:20-cv-03715-APM
v.
                                        HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.



               PLAINTIFFS’ MEMORANDUM IN OPPOSITION
           TO APPLE INC.’s MOTION FOR LIMITED INTERVENTION
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                                        INTRODUCTION

       For years, Apple has chosen to sit in the back of the courtroom “monitoring the

proceedings,” as Google defended the companies’ agreement. ECF No. 1111 (Apple Mot.) at 14.

Apple—one of the largest and most sophisticated companies in the world, represented by equally

sophisticated counsel—knew the entire time that a major focus of this case was the companies’

agreement. It was clear when the complaints were filed in 2020, during three years of discovery,

and during the ten-week trial in 2023, a trial where Apple’s own employees testified. Through it

all, Apple remained on the sidelines.

       On August 5, 2024, this Court found that the tens of billions of dollars Google has paid

Apple to split search profits “unquestionably” has the effect of “significantly contributing to

keeping Apple on the sidelines of search, thus allowing Google to maintain its monopoly.” ECF

No. 1032 (Memorandum Opinion) (Op.), at 242. With its lucrative exclusionary agreement in

peril, Apple now files an eleventh-hour effort to intervene in this litigation. Apple’s motion—

coming more than four years after Plaintiffs filed their lawsuit, more than four months after the

Court’s liability decision, in the midst of expedited discovery, and mere months before the

remedies trial—is both untimely and unnecessary given Google’s representation of its combined

interests in this litigation. Permitting intervention would also prejudice the Plaintiffs and likely

result in further delay to the proceedings.

       Accordingly, Plaintiffs respectfully request that the Court deny the motion for the reasons

set forth below.

                                   FACTUAL BACKGROUND

       The Internet Services Agreement (ISA) is the decades-old agreement between Apple and

Google by which Google allows Apple to distribute general search services in exchange for

revenue share payments. The first version of the ISA was executed in 2002. Op. at 108. Its
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present iteration was first executed in 2016 and has been amended several times since then. Id. at

101. The ISA provides that both parties must “cooperate to defend the agreement, including in

response to regulatory actions.” Id.at 102.

       The ISA requires Apple to set Google as the default search engine for Safari, Siri, and

Spotlight on its devices. Op. at 102. In return, Google pays Apple                              for

all queries that are initiated in Safari and Chrome. ECF No. 906 (Plaintiffs’ Proposed Findings of

Fact) at 79. In 2022, this arrangement resulted in Google paying Apple an estimated $20 billion.

Op. at 103. In 2020, these payments accounted for 17.5 percent of all of Apple’s operating profit.

Id. at 102. Google receives huge benefits in return: 28 percent of all queries in the United States

are entered into search access points covered by the ISA. Id. Google has projected net revenue

losses between $28.2 and $32.7 billion (and over double that in gross revenue losses) if Google

is no longer the default general search engine (GSE) on Apple devices, as the ISA requires. Id. at

30.

                               PROCEDURAL BACKGROUND

I.     Plaintiffs’ Complaints, Liability Discovery, And The Liability Trial

       In 2020, the United States, its Co-Plaintiff States, and the Colorado Plaintiff States sued

Google. From the outset, Apple has known that Plaintiffs were taking direct aim at the ISA. The

complaints specifically alleged that the Google–Apple ISA unlawfully maintained Google’s

monopolies in the general search services and search text advertising markets. See, e.g., ECF No.

1 (DOJ Complaint) at ¶ 85 (“Google has had a series of search distribution agreements with

Apple, effectively locking up one of the most significant distribution channels for general search

engines”); Colorado v. Google, No. 1:20-cv-03715, ECF No. 3 (D.D.C Dec. 17, 2020) (Colorado

Plaintiff States Complaint) at ¶ 109 (“[t]he Google-Apple agreement has harmed competition

because it has foreclosed rival general search engines from accessing search access—points on a

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vital distribution channel—Apple and its devices—for nearly 15 years”).

       Plaintiffs and Google then engaged in three years of discovery, culminating in a 10-week

liability trial in Fall 2023. Apple participated in liability discovery as a non-party, producing

documents and providing testimony at depositions, the majority of which focused on the ISA.

When both Plaintiffs and Google included Apple employees on their potential witness lists,

Apple sought to avoid participating at trial entirely by moving to quash both sides’ trial

subpoenas—the opposite tactic to what it now attempts. See ECF No. 643 (Apple Motion to

Quash). At that time, Apple claimed it would be unduly burdensome for its employees to testify

at trial because “it would require Apple’s executives go through considerable burden and

expense of preparing for their trial testimony and traveling 3,000 miles across the country from

Northern California to testify at a bench trial.” Id. at 2. The Court denied Apple’s motion to

quash. ECF No. 683 (Order on Motion to Quash) at 2.

       At trial, Apple executives testified to the nature of the ISA, how it enshrined Google’s

exclusivity, and how it dampened Apple’s incentive to develop its own general search engine.

See, e.g., Op. at 31, 103, 104, 108, 113, 121–22, 201 (citing Cue testimony); id. at 15, 23, 104,

241 (citing Giannandrea testimony).

       Apple’s counsel attended every deposition of its employees and every day of the trial. At

no time throughout this yearslong litigation and prior to filing its motion to intervene on December

23, 2024, did Apple ever suggest that Google, its partner in the ISA and another sophisticated giant

in the tech industry, did not adequately represent Apple’s interests.

II.    The Court’s Liability Decision And The Remedies Phase Process

       On August 5, 2024, the Court held that Google is a monopolist and unlawfully used that

power to maintain its monopolies, finding, among other things, that the ISA was exclusionary

and that the exclusion resulted in anticompetitive harm. Op. at 216. Google’s payments to Apple
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were part and parcel of the competitive harms caused by Google’s exclusive distribution

contracts. Id. at 230, 234.

        After the Court’s liability finding, Plaintiffs spoke with multiple third parties in

connection with the remedy phase. On September 24, 2024, Plaintiffs reached out to counsel for

Apple to seek its views on potential remedies and met virtually with them on October 1, 2024.

On October 18, 2024, Plaintiffs issued a Rule 45 subpoena to Apple, to which Apple served

objections on November 1, 2024. Plaintiffs did not receive any documents from Apple until

November 22, 2024, and to date has received 31 documents total in response to their requests.

        The Parties began remedy discovery immediately following the Court’s liability opinion.

There have been months of remedies proceedings between August and December 2024,

including six status conferences and multiple remedies-related filings. Nevertheless, despite the

Court’s holding that the ISA was an essential part of Google’s illegal conduct in August, Apple

did not seek to intervene or otherwise participate in this case as a party until December 23, 2024.

III.    Plaintiffs’ and Google’s Initial Proposed Final Judgments

        On November 20, 2024, Plaintiffs filed their Initial Proposed Final Judgment (“Plaintiffs’

PFJ”), see ECF No. 1062-1, and served on Google an Initial Witness List. Plaintiffs’ PFJ was

drafted based on the “roadmap to the components necessary to restore competition” contained in

the Court’s opinion, and the Court’s findings and legal holdings concerning the ISA described

above. ECF No. 1062 (PFJ Executive Summary) at 2. Consistent with the Court’s findings,

Plaintiffs’ PFJ prohibits Google from paying any third party, including Apple, for making

Google the default search engine on its devices. See Plaintiffs’ PFJ ¶ IV.A.

        On December 20, 2024, Google filed its Initial Proposed Final Judgment (Google’s PFJ),

see ECF No. 1108-1, and served its Initial Witness List. Google’s PFJ proposes only minimal

changes to the Google-Apple relationship, such as modest restrictions on Google’s ability to
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require Apple set Google as the default GSE on Apple’s Siri and Spotlight features. Id. ¶ III(L).

Notably, Google’s PFJ would not limit Google’s ability to pay Apple any amount of money to

continue making Google the default GSE on the Safari browser on all Apple devices.

                                           ARGUMENT

        Apple’s untimely request for “limited intervention” at the tail end of a lengthy and

complex proceeding in which it had ample opportunity to seek intervention, and in which its

interests are robustly defended by Google, should be rejected. Apple argues that it needs to

intervene at this late stage due to a sudden misalignment of interests between Google and Apple

created by Plaintiffs’ PFJ. Apple Mot. at 19. Yet, Apple acknowledges that “Google vigorously

contested Plaintiffs’ allegations” throughout the liability phase, including the allegations

concerning the ISA. Id. at 9. And Apple all but concedes that Google’s PFJ seeks full

preservation of Apple’s rights under the ISA since it would “permit Google to enter contracts for

default status on Apple’s (and other browsers’) search access points” and “also permit Apple

(and other search distributors) to continue receiving value for distributing Google Search to users

on Apple’s search access points.” Id. at 5–6. In other words, Google has interests identically

aligned with Apple’s, which it has forcefully defended throughout this litigation.

        Far from being “limited,” Apple’s proposal would furthermore add delay and complexity

to the proceeding by permitting it to present “two or three witnesses” at the remedies hearing,

cross-examine an unspecified number of witnesses for an unspecified amount of time, and

participate “alongside Google” in unidentified briefing and future argument. Apple Mot. at 15. 1

        For the reasons demonstrated further below, Apple’s motion should be denied.


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    Apple does not identify the witnesses it would like to cross-examine or explain why it needs
    to cross-examine them and fails to identify any other limits on its potential participation in
    discovery, trial, or post-trial proceedings.


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I.      Apple Fails To Show It Should Be Permitted to Intervene as Of Right Under
        Rule 24(a)

        A party seeking to intervene as of right under Federal Rule of Civil Procedure 24(a) must

demonstrate all four of the following requirements: (1) “no party to the action can be an adequate

representative of the applicant’s interests;” (2) it has “a legally protected interest in the action;”

(3) “the action [] threaten[s] to impair that interest;” and (4) “the application to intervene [is]

timely.” Deutsche Bank Nat’l Tr. Co. v. F.D.I.C., 717 F.3d 189, 192 (D.C. Cir. 2013) (citing

Karsner v. Lothian, 532 F.3d 876, 885 (D.C. Cir. 2008)). A failure of any one element is fatal.

As demonstrated below, Apple cannot show that its application is timely or that Google has not

been an adequate representative of its interests and, accordingly, the motion should be denied.

        A.      Apple’s Motion Is Untimely

        As a threshold matter, the time for Apple to seek intervention has long since passed.

Courts consider “all the circumstances” in assessing timeliness, focusing on “the time elapsed

since the inception of the suit, the purpose for which intervention is sought, the need for

intervention as a means of preserving the applicant’s right, and the probability of prejudice to

those already parties in the case.” Karsner, 532 F.3d at 886 (internal quotations omitted) (citing

United States v. Brit. Am. Tobacco Austl. Servs. Ltd., 437 F.3d 1235, 1238 (D.C. Cir. 2006). In

this case, none of these factors justify Apple’s extreme delay in filing its motion.

        Apple has known since the filing of the complaints that Plaintiffs were challenging

Google and Apple’s ISA, and that Plaintiffs viewed the ISA as a vehicle to further entrench

Google’s monopolies. See, e.g., Colorado Plaintiff States Complaint ¶¶ 46, 233(b). Thus,

Apple’s “contractual rights under the ISA” were at issue from the outset, and Apple had ample

opportunity and time to seek intervention. See Roeder v. Islamic Republic of Iran, 333 F.3d 228,

233 (D.C. Cir. 2003) (timeliness to intervene is measured from when the intervenor knew or


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should have known that its rights would be affected by the litigation). Instead, by choosing to

wait and see until “litigation is quite advanced,” Apple made a “strategic choice” not to intervene

earlier. Love v. Vilsack, 304 F.R.D. 85, 91 (D.D.C. 2014), aff’d, No. 14-cv-5185, 2014 WL

6725758 (D.C. Cir. Nov. 18, 2014) (denying intervention). Indeed, Apple went further, actively

seeking to avoid participation in the liability trial by moving to quash the subpoenas for its

employees’ testimony. Apple’s gamesmanship should not be rewarded at this late stage.

       Tellingly, Apple identifies no case in which a party was allowed to intervene at the post-

trial, remedial phase of a litigation when it was inextricably involved in the litigation from the

filing of the complaint. Indeed, Apple does not rely on a single case where the proposed

intervenor was a counterparty to the contract that is the subject of the action. The Court should

not entertain this motion from a party as sophisticated and well-resourced as Apple, a company

that was deeply involved in the liability phase as a third party, during which the theory of the

case remained fundamentally unchanged.

       Chief among the considerations for a proposed intervention is also whether it would

prejudice the case’s existing parties by “unduly disrupting [the] litigation.” Roane v. Leonhart,

741 F.3d 147, 151 (D.C. Cir. 2014). Any delay by a would-be intervenor must be weighed

against prejudice to the original parties. Id. (citing Nat. Res. Def. Council v. Costle, 561 F.2d

904, 908 (D.C. Cir. 1977)). Apple’s motion suggests it wishes to revisit the merits of the case,

further delaying the resolution of merits by protecting the “status quo” and preventing any

outcomes that would “undercut” the ISA. Apple Mot. at 15. The harm being caused by Google’s

monopoly is an ongoing harm. The remedies phase must proceed expeditiously to “eradicate

[the] existing evils” and “prevent future violations.” United States v. Microsoft Corp., 253 F.3d

34, 101 (D.C. Cir. 2001) (quoting United States v. Ward Baking Co., 376 U.S. 327, 330–31



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(1964)). Adding more witnesses, more cross-examination, more briefing, and more oral

argument will unfairly burden the Plaintiffs who are already working to meet a “shortened time

period” before trial. ECF No. 1103 (Status Hearing Transcript, Dec. 18, 2024) at 18:12–18:25.

       Furthermore, Apple is just one of many firms that contracted with Google to deploy

general search services within their devices and software. In theory, any company that signed

Mobile Application Distribution Agreements, Revenue Share Agreements, and other similar

agreements may could make the same arguments that Apple has made here. Granting permission

for Apple to intervene would invite all of Google’s contract partners to request intervention and

would present similar attendant issues and concerns. Opening intervention to a multiplicity of

similarly situated intervenors could both complicate current proceedings and set a dangerous

precedent for future litigation. See Deutsche Bank, 717 F.3d at 192–93 (describing an

intervenor’s argument as “swimming up river” because, if allowed, there would be no basis to

reject a untold multitude of similarly situated others). These interests have been represented

throughout the course of the trial by Google, which has relied on these contracts to support its

monopoly and continues to argue for the minimum amount of change to the “status quo.”

       Finally, Apple and any other interested party can submit their views to the Court on

remedies through appropriate means: by requesting permission to submit an amicus brief to this

Court. See Indep. Petrochem. Corp. v. Aetna Cas. & Sur. Co., No. 83-cv-3347, 1988 WL 64960,

at *3 (D.D.C. June 13, 1988) (denying intervention but permitting a party to appear as amicus

curiae).

       B.      Google More Than Adequately Represents Apple’s Interests

       Apple’s motion should also be denied because Google more than adequately represents

Apple’s interest in this matter. Intervention by right requires that Apple’s interest is not

adequately represented by existing parties. See Deutsche Bank, 717 F.3d at 192. Where, as here,
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the interests of two parties are identical or the parties share the “same ultimate objective,” the

adequacy of representation is presumed. Atl. Refinishing & Restoration, Inc. v. Travelers Cas. &

Sur. Co. of Am., 272 F.R.D. 26, 30 (D.D.C. 2010). See also Oakland Bulk & Oversized Terminal,

LLC v. City of Oakland, 960 F.3d 603, 620 (9th Cir. 2020) (citing Arakaki v. Cayetano, 324 F.3d

1078, 1086 (9th Cir. 2003)); SEC v. LBRY, Inc., 26 F.4th 96, 99 (1st Cir. 2022); Cobell v. Jewell,

No. 96-cv-01285, 2016 WL 10703793, at *2 (D.D.C. Mar. 30, 2016).

       Apple and Google clearly share the ultimate objective of continuing the ISA that has been

so profitable for both companies. And Apple has not made any showing sufficient to rebut the

presumption of adequacy based on this shared objective. Apple therefore fails to make a second

required showing and the motion to intervene as of right. For this separate and independent

reason, Apple’s motion should be denied.

               1.      Google And Apple Have A Shared Interest

       Google and Apple share the same “ultimate objective” with respect to the ISA because

they “seek precisely the same result in the underlying litigation,” HRH Servs. LLC v. Travelers

Indem. Co., No. 23-cv-02300, 2024 WL 4699925, at *9 (D.D.C. Nov. 6, 2024) (first quoting

Cobell v. Jewell, No. 96-cv-01285, 2016 WL 10704595, at *2 (D.D.C. Mar. 30, 2016) and then

quoting Indep. Petrochem. Corp. v. Aetna Cas. & Sur. Co., 105 F.R.D. 106, 112 (D.D.C. 1985)):

limiting the scope of the ultimate remedy such that they might continue the “status quo.” Apple

has not even suggested otherwise. Cf. United States v. All Assets Held at Credit Suisse

(Guernsey) Ltd., 45 F.4th 426, 432 (D.C. Cir. 2022) (denying intervention where intervenor does

not make any argument not made by an existing party). Courts in this jurisdiction have found

that similar mutual commercial interests constituted a shared ultimate interest. Accord HRH

Servs., 2024 WL 4699925, at *10 (shared ultimate objective between an insured lessor and the

owner of the property); Telligent Masonry, LLC v. Cont’l Cas. Co., No. 19-cv-1078, 2019 WL
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13255497, at *2 (D.D.C. July 3, 2019) (shared ultimate objective between a prime contractor and

a subcontractor); Atl. Refinishing & Restoration, 272 F.R.D. at 30 (shared ultimate objective

between a contractor and its surety).

        Apple and Google’s unified objective is obvious. First and foremost, Google itself told

the Court a few weeks ago in its PFJ (after the supposed intervening event of Plaintiffs’ PFJ),

that Google intends to vigorously defend the ISA. Specifically, Google submitted a proposed

remedy that would in no way impinge on Apple’s ability to contract with Google, and instead

would only give Apple “greater flexibility.” ECF No. 1108 (Google’s PFJ Executive Summary)

at 5; accord ECF No. 1108 (Google’s PFJ) at 3–5. Apple claims that it has a “unique interest in

protecting its freedom and latitude to enter into commercial arrangements [with Google],” Apple

Mot. at 14, but Google is vigorously pursuing precisely that same interest. Google has thus made

clear that it has an identical interest as Apple and intends to pursue the same objectives as Apple

itself seeks.

        Second, it defies belief that after more than four years of staunchly defending the ISA and

its other distribution agreements, Google would suddenly give up the very tool that it has used to

maintain its monopoly for years. Google has an enormous financial interest in defending the ISA

and its ability to continue paying Apple to make Google the default GSE on Apple devices.

Indeed, as the Court has already held, Google’s interest in defending its default status on Apple

devices is worth over $28 billion in net revenue. Op. at 30. Apple for its part receives over $20

billion a year from Google, which in one year accounted for 17.5 percent of Apple’s operating

profit. Id. at 103. It is hard to conceive of a stronger alignment of interest.

        Third, the economic incentives, as well as the legal obligations, to defend the ISA have

been codified in the parties’ contract. Apple and Google have long shared a “vision” to work “as



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if [they] are one company.” UPX0617 at -059. The ISA’s Joint Defense Provision specifically

requires that Apple and Google “cooperate to support and defend the ISA Agreement.” JX0033

at -801. Further, the ISA requires that Apple and Google renegotiate the revenue share provisions

of the ISA should a court negatively affect either the ISA itself or the parties’ ability to perform

under it. See id. This contractual provision remains in force.

       Accordingly, Google presumptively represents Apple’s interest in this litigation, and it

falls to Apple to rebut this presumption.

               2.      Apple Cannot Rebut The Presumption Of Adequacy

       Apple cannot rebut the presumption that Google adequately represents its interests, as

Google has done for years. See HRH Servs., 2024 WL 4699925, at *9 (presumption of adequacy

is rebuttable by certain special circumstances, including adversity of interest, collusion, or

nonfeasance). Apple’s claims to the contrary ignore the realities of this case and its long history.

       First, Apple argues that “the breadth of Plaintiffs’ PFJ makes it impossible for Google to

give sufficient attention to defending the ISA” because it will force Google to “make judgments

about which provisions to contest and how much weight to give different objections.” Apple

Mot. at 10. As an initial matter, Google—a huge company with a market capitalization in the

trillions of dollars—and its representatives are more than capable of handling multiple,

simultaneous issues; they have been doing so for years, in this action and in other legal and

regulatory matters around the world. Furthermore, Google’s own remedy proposal demonstrates

that preservation of the ISA and defaults will be at center stage.

       Just as it did during the liability trial, Google is well equipped to call multiple witnesses

from Apple and conduct direct examinations that will provide the Court with Apple’s views. The

Court, of course, may ask the Apple witnesses any questions that it believes would be helpful to

fashion a remedy in this matter. And as we know from trial, lawyers for Google and Apple are in
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constant communication and have helped to jointly prepare witnesses for trial testimony. See,

e.g., Trial Tr. at 2166:13–25, Sept. 21. 2023 (John Giannandrea) (“Q. And before your testimony

here today, did you meet with Google’s lawyers? A. Yes, once.”).

       The analysis in Alfa International Seafood v. Ross, 321 F.R.D. 5 (D.D.C. 2017) (Mehta,

J.), appeal dismissed, No. 17-cv-5138, 2018 WL 4763179 (D.C. Cir. Feb. 1, 2018), vacated on

other grounds 320 F. Supp. 3d 184 (D.D.C. 2018), is instructive in this regard. See 321 F.R.D. at

8–9. There, this Court considered whether three environmental groups could intervene in an

action by a seafood company against the U.S. Secretary of Commerce and other federal

defendants, ruling that the proposed intervenors failed to establish that they were not adequately

represented by the federal defendants. Id. The Court rejected the intervenors’ contention that

their “narrow focus” was not adequately represented by the federal defendants’ “broader set of

objectives.” Id. The Court also rejected the intervenors’ other arguments, because they were

“speculative” and “portend[ed] no obvious divergence in the course of the litigation.” Id. at 9.

The same is true here. Just like the proposed intervenors in Alfa, Apple’s interests here are

narrow but in no way divergent from Google’s. See also United Mexican States v. Lion Mex.

Consol., L.P., No. 1:21-cv-03185, 2024 WL 4753800, at *13 (D.D.C. Nov. 8, 2024) (finding that

an intervenor’s disagreement in litigation strategy was not an inadequately represented interest

because the existing litigant was “equally incentivized” to raise the intervenor’s proposed

argument).

       Apple chiefly relies on Humane Society of the United States v. United States Department

of Agriculture, No. 19-cv-2458, 2023 WL 3433970 (D.D.C. May 12, 2023), to support its

contention that its interests are differently situated from Google’s. Apple Mot. at 10–11. But that

case is readily distinguishable. There, the court explained that a federal agency was not able to



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adequately represent a trade association’s interest because the agency would not “afford the

movant’s discrete and particularized interests the same primacy as movants would themselves.”

Id. at *9 (quoting Navistar, Inc. v. Jackson, 840 F. Supp. 2d 357, 362 (D.D.C. 2012)). The court

cited the divergence of interests between the agency’s focus on the public interest and the trade

associations’ focus on its members’ interests. Id. No such divergence exists here. Apple

identifies no way in which its interests are “fundamentally distinct” from Google’s interest, nor

can it. Id. Apple and Google are private parties to a commercial agreement that financially

benefits them both, and Google’s interest in defending the ISA is as strong as Apple’s.

        Second, Apple argues that Google cannot adequately represent Apple’s interest in

“crafting future contractual arrangements” with Google. Apple Mot. at 11. These future interests

are generalized, hypothetical, contingent on future events that may or may not occur, and

therefore not captured within Rule 24(a)’s ambit. See Med. Liab. Mut. Ins. Co. v. Alan Curtis

LLC, 485 F.3d 1006, 1008 (8th Cir. 2007). Apple offers no legal authority to suggest otherwise.

Cf Telligent Masonry, 2019 WL 13255497, at *2 (special circumstances existed where intervenor

sought to argue claims and defenses that the existing litigants could not); Atl. Refinishing &

Restoration, 272 F.R.D. at 30 (special circumstances existed where intervenor sought to enforce

a contract term that the existing litigants did not).

        Third, Apple argues that it and Google are differently situated because, under those same

hypothetical future contractual arrangements, Google may wish to cease paying Apple a share of

its revenue. Apple Mot. at 11. Apart from raising conjecture not subject to Rule 24(a), Apple’s

speculation runs contrary to Google’s actual position in this case: a full-court press in defense of

continuing to pay revenue shares in exchange for default status on Apple devices. This has been

Google’s consistent position since filing its Answer over four years ago. ECF No. 87 (Google



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Answer). Those interests have not changed throughout this litigation. See generally Google’s

PFJ.

         Finally, Apple argues that only it can ensure that the Court “has the complete record

necessary to evaluate Plaintiffs’ PFJ as it pertains to provisions impact Apple.” Apple Mot. at 12.

Apple takes the untenable position that its interests can only be protected if it can call and

question its own witnesses at the remedy trial, looking to Natural Resources Defense Council v.

Costle, 561 F.2d 904 (D.C. Cir. 1977), in search of support. See Apple Mot. at 17–19. But that

case also fails to bolster Apple’s argument. There, the court considered whether a group of

applicants for intervention were adequately represented by another group of industry parties

already granted intervention. 561 F.2d at 911–13. The court recognized that the proposed

intervenors presented “special and distinct interests” from the industry parties that had already

been granted intervenor status, specifically noting that “none of the existing parties represents the

interests of rubber manufacturers” and that one chemical company might not “have interests that

bear upon” a proposed intervenor. Id. at 913 n.48. By contrast, Apple and Google are actual

counterparties to the exact same contract that they both wish to preserve. No special and distinct

interests exist between them regarding a contract that benefits both of them.

         For the above reasons, the motion to intervene under Rule 24(a) should be denied.

II.      The Court Should Deny Permissive Intervention Under Rule 24(b)

         Apple also requests permissive intervention under Federal Rule of Civil Procedure 24(b).

Apple Mot. at 22. Permissive intervention requires that Apple demonstrate that it “has a claim or

defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). Courts in this jurisdiction consider whether the proposed intervenor “(1) ‘has an

independent ground for subject-matter jurisdiction,’ (2) has made a timely motion, and (3) has a

‘claim or defense that has a question of law or fact in common with the main action.’” Nat’l
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Ass’n of Home Builders v. U.S. Army Corps of Eng’rs, 519 F. Supp. 2d 89, 93 (D.D.C. 2007)

(quoting Env’t Def. v. Leavitt, 329 F. Supp. 2d 55, 66 (D.D.C. 2004)). Permissive intervention is

an “inherently discretionary enterprise,” EEOC v. Nat’l Children’s Ctr., Inc., 146 F.3d 1042,

1046 (D.C. Cir. 1998), and “requests for permissive intervention [] face heightened timeliness

scrutiny to prevent substantial disruption of the litigation process.” Ctr. for Biological Diversity

v. Raimondo, No. 18-cv-112, 2021 WL 2823102, at *4 (D.D.C. July 7, 2021) (citing League of

United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1308 (9th Cir. 1997)); see United Mexican

States v. Lion Mexico Consol., L.P., No. 21-cv-03185, 2024 WL 4753800, at *13 (D.D.C. Nov.

8, 2024) (“Courts apply a more lenient standard of timeliness to intervention as of right than to

permissive intervention.”). A court’s exercise of discretion must therefore include “whether the

intervention will unduly delay or prejudice the adjudication of the original parties’ rights.” Fed.

R. Civ. P. 24(b)(3).

         Above all else, the “principal consideration” in resolving a request for permissive

intervention is “whether the proposed intervention would unduly delay or prejudice the

adjudication of the parties’ rights.” South Dakota v. United States Dep’t of Interior, 317 F.3d

783, 787 (8th Cir. 2003) (citing United States v. Pitney Bowes, Inc., 25 F.3d 66, 73 (2d

Cir.1994)). For the same reasons described with respect to intervention as of right, any proposed

intervention is extremely untimely and threatens significant prejudice to Plaintiffs. See supra

Section I.A. Accordingly, Plaintiff respectfully request that the Court deny Apple’s motion for

permissive intervention.

III.     Apple’s Intervention, If Permitted, Should Be Limited, And Would Implicate
         The Court’s Liability Findings

         Although Plaintiffs strongly oppose intervention in this case, should the Court grant

Apple’s motion, Plaintiffs would request strict limits be imposed on Apple to minimize the


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resulting prejudice stemming from Apple’s untimely motion. Reserving all available rights under

the law, Plaintiffs contemplate multiple limitations that would promote efficiency in the

proceeding, such as limiting Apple’s ability to question any witnesses at the future remedies

hearing to only current Apple employees.

       In the event that Apple was granted the right to become a party to this proceeding,

Plaintiffs would also evaluate additional actions they might seek, such as further revising

Plaintiffs’ PFJ, requesting that Apple be bound by the Court’s final judgment, and other potential

relief. For example, Plaintiffs may evaluate potential liability findings against Apple based on

the existing liability record as well as the evidence obtained during remedies discovery. Plaintiffs

could then seek to amend their complaints pursuant to Rule of Civil Procedure 15 to include

Apple as a named defendant for liability purposes, depending on that evaluation.

                                         CONCLUSION

       For all the above reasons, Plaintiffs respectfully request that the Court deny Apple’s

motion to intervene.




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  Dated: January 8, 2025               Respectfully submitted,


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